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            Statement as to Why No Brief is Necessary Page 1 of 1



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                                                              UNITED STATES
                                                            BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY
 IN RE:
                                                                      Chapter 11
 6 SUNSET LANE, LLC,
                                                                 Case No. 25-11005-MEH
               Debtor-in-Possession.
                                                         Judge: Hon. Mark E. Hall, U.S.B.J.

                                                     Hearing Date: June 16, 2025 at 10:00a.m.


       Pursuant to D.N.J. LBR 9013-1(a)(3), no brief or memorandum of law is necessary as the

matter at issue does not present a complicated legal issue.


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                                      6 Sunset Lane, LLC

                              By:     /s/ Stephen A. Schwimmer
                                      STEPHEN A. SCHWIMMER

Dated: May 22, 2025
